4/6/2020                                                    Case 19-25903        Doc   25-4
                                                                                  Historical PrimeFiled   04/06/20
                                                                                                  Rate | JPMorgan Chase &Page
                                                                                                                          Co. 1 of 1

   




                                                                               HISTORICAL PRIME RATE

                                                                                     1983 - Present

                                                            Effective Date                                             Rate*


                                                            3/16/2020                                                  3.25%


                                                            3/4/2020                                                   4.25%


                                                            10/31/2019                                                 4.75%


                                                            9/19/2019                                                  5.00%


                                                            8/1/2019                                                   5.25%


                                                            12/20/2018                                                 5.5%


                                                            9/27/2018                                                  5.25%


                                                            6/14/2018                                                  5.00%


                                                            3/22/2018                                                  4.75%


https://www.jpmorganchase.com/corporate/About-JPMC/historical-prime-rate.htm                                                           1/8
